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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



JOSEPH BARRETT and CRAIG
CUNNINGHAM on behalf of themselves and
others similarly situated,

                        Plaintiffs,
                                                       Civil Action No. 1:18-cv-11545-ADB
         v.

FIDELITY SECURITY LIFE INSURANCE
COMPANY and NFS INSURANCE AGENCY
LLC D/B/A SENIORS UNITED INSURANCE,

                        Defendants.


              DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

         Defendants Fidelity Security Life Insurance Company (“Fidelity”) and NFS Insurance

Agency LLC d/b/a Seniors United Insurance (“NFS,” and together with Fidelity, “Defendants”)

respectfully move this Court to dismiss the Complaint filed by Plaintiffs Joseph Barrett and Craig

Cunningham (collectively, “Plaintiffs”) for lack of personal jurisdiction pursuant to Fed. R. Civ.

P. 12(b)(2) and for failure to state a claim upon which relief can be granted pursuant to Fed. R.

Civ. P. 12(b)(6).

         First, Plaintiffs’ threadbare allegations do not establish personal jurisdiction over non-

resident Defendants. In addition, Tennessee resident Cunningham does not allege injury, or that

Defendants initiated unlawful conduct, in Massachusetts. Second, Plaintiffs fail to state a claim

under the Telephone Consumer Protection Act by inadequately pleading vicarious liability by

Fidelity and direct liability by NFS. As Plaintiffs’ claim under M.G.L. c. 93A is derivative of their

TCPA claim and is not a per se violation of the former, and since Plaintiffs cannot allege extreme

or egregious acts by Defendants, the Chapter 93A claim also fails.




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         In support of their Motion, Defendants rely on their Memorandum of Law filed

contemporaneously herewith.

                             LOCAL RULE 7.1 CERTIFICATION

         I, Anthony Froio, hereby certify that counsel for Defendants attempted to confer with

counsel for Plaintiffs in order to comply with obligations pursuant to Local Rule 7.1 that the

parties meet and confer in an attempt in good faith to resolve or narrow the issues in the above

Motion.

                                                      /s/Anthony A. Froio
                                                      Anthony A. Froio




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DATED: October 29, 2018                       Respectfully submitted,

                                              NFS INSURANCE AGENCY LLC D/B/A
                                              SENIORS UNITED INSURANCE and FIDELITY
                                              SECURITY LIFE INSURANCE COMPANY


                                              By its attorneys,

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                                 CERTIFICATE OF SERVICE

        I, Manleen Singh, hereby certify that on October 29, 2018, the foregoing document was
filed electronically with the Clerk of the Court using the CM/ECF system and will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants by first class mail.

                                                      /s/ Manleen Singh
                                                      Manleen Singh




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